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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                       )
  In re:                                                               )     Chapter 11
                                                                       )
           Alameda Research Ltd                                        )     Case No. 22-11067
                                                                       )
           Debtor.                                                     )



                  TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

Hain Capital Investors Master Fund, LTD                                    Nodle Limited
Name of Transferee                                                         Name of Transferor

Name and Address where notices to transferee                               Last known address:
should be sent:

Hain Capital Investors Master Fund, LTD                                    Nodle Limited
301 Route 17 North, Suite 816A                                             Trinity Chambers, Box 4301
Rutherford, NJ 07070                                                       Road Town - Tortola, British Virgin Islands

                                                                           Schedule #: N/A
                                                                           Proof of Claim #: 3394
                                                                           Proof of Claim Amount: $424,800.00
                                                                           Confirmation ID: 3265-69-GRURL-402573193

Phone: (201) 896 - 6100                                                    Phone:
Last Four Digits of Acct #:                                                Last Four Digits of Acct #:

Name and Address where transferee payments
should be sent (if different from above):


I declare under penalty of perjury that the information provided in this notice is true and correct to the best
of my knowledge and belief.

By:___Keenan Austin_______________                                         Date:______6/26/24______________
        Transferee/Transferee’s Agent
        Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571




                                                                                                                      Local Form 138
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                         EVIDENCE OF TRANSFER OF CLAIM



TO:    THE DEBTOR AND THE BANKRUPTCY COURT


For value received, the adequacy and sufficiency of which are hereby acknowledged,
Nodle Limited (“Assignor”) hereby unconditionally and irrevocably sells, transfers and
assigns to Hain Capital Investors Master Fund, Ltd (“Assignee”) all of its right, title,
interest, claims and causes of action in and to, or arising under or in connection with, its
claim (as such term is defined in Section 101(5) of the U.S. Bankruptcy Code) associated
with Claim Numbers 3294, 3370, and 3394 against FTX Trading Ltd., et al ( (the
“Debtor”), Chapter 11 Case jointly administered under case No. 22-11068 United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and any and all
proofs of claim filed by Assignor with the Bankruptcy Court in respect of the foregoing
claim.

Assignor hereby waives any objection to the transfer of the claim to Assignee on the
books and records of the Debtor and the Bankruptcy Court, and hereby waives to the
fullest extent permitted by law any notice or right to a hearing as may be imposed by
Rule 3001 of the Federal Rules of Bankruptcy Procedure, the Bankruptcy Code,
applicable local bankruptcy rules or applicable law. Assignor acknowledges and
understands, and hereby stipulates, that an order of the Bankruptcy Court may be
entered without further notice to Assignor transferring to Assignee the foregoing claim
and recognizing the Assignee as the sole owner and holder of the claim. Assignor further
directs the Debtor, the Bankruptcy Court and all other interested parties that all further
notices relating to the claim, and all payments or distributions of money or property in
respect of claim, shall be delivered or made to the Assignee.

IN WITNESS WHEREOF, this EVIDENCE OF TRANSFER OF CLAIM IS EXECUTED
THIS ___
     19 day of JUNE 2024.


NODLE LIMITED                             HAIN CAPITAL INVESTORS MASTER FUND, LTD
                                          By Koltai & Company Advisors, LLC


By: _________________________             By: _________________________
Name: Micha Benoliel                      Name: Robert Koltai
Title: Director                           Title: Manager
